  Case 8:22-cv-01328-MSS-MRM Document 9 Filed 07/06/22 Page 1 of 1 PageID 26



AFFIDAVIT OF SERVICE                                                                                                       Job # 52438

Client Info:
Lee Law, PLLC
1971 West Lumsden Road, Suite 303
Brandon, FL 33511


Case Info:
PLAINTIFF:                                                                                            UNITED STATES DISTRICT COURT
KRISTOPHER GEORGE                                                                        Court Division: MIDDLE DISTRICT OF FLORIDA
 -versus-
DEFENDANT:                                                                           County of TAMPA DIVISION State: _____________
LU BLUE, LLC d/b/a BAYSHORE BREEZE MARKET & GRILL                                            Court Case # 8:22-cv-01328-MSS-AEP
Service Info:

Received by Christopher Davignon: on June, 16th 2022 at 08:45 PM
Service: I Served LU BLUE, LLC d/b/a BAYSHORE BREEZE MARKET & GRILL c/o Kadir Cenberoglu
With: Summons; Civil Cover Sheet and Complaint and Demand for Jury Trial
by leaving with Kadir Cenberoglu, EMPLOYEE-AUTHORIZED TO ACCEPT

At Residence 4141 DAVENTRY LANE PALM HARBOR, FL 34685
Latitude: 28.100784, Longitude: -82.677456

On 6/21/2022 at 07:47 AM
Manner of Service: CORPORATE LLC
PURSUANT TO F.S. Ch. 48.062

Served Description: (Approx)

                  Age: 55, Sex: Male, Race: Multiracial, Height: 6' 2", Weight: 180, Hair: Bald Glasses: Yes

I certify that I am over the age of 18, have no interest in the above action, and I am authorized in the jurisdiction in which this
service was made.




                                                                      SUBSCRIBED AND SWORN to before me this 6th day of July ,
                                                                      2022, by Christopher Davignon, Proved to me on the basis of
                                                                      satisfactory evidence to be the person(s) who appeared before
 Signature of Server                                                  me by:
 Christopher Davignon                                                 [__] physical presence [X] online presence.
 Lic # APS 59070

 Accurate Serve
 PO Box 5141
 Lakeland, FL 33807
 Phone: (863) 873-6691
                                                                      _________________________________________
 Our Job # 52438                                                        NOTARY PUBLIC for the state of Florida




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